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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION


MARC VEASEY, et al.,

                      Plaintiffs,

               v.                                         Civil Action No. 2:13-cv-193 (NGR)
                                                                 (Consolidated Action)
RICK PERRY, et al.,

                      Defendants.


                     PLAINTIFFS AND PLAINTIFF-INTERVENORS’
                       NOTICE OF FILING OF TRIAL EXHIBITS

       Plaintiffs and Plaintiff-Intervenors (“Plaintiffs”) submit this Notice of Filing of Trial

Exhibits (PL412 – PL525). An index of Plaintiffs’ trial exhibits is attached as Exhibit 1 to ECF

Dkt No. 660.


Date: November 11, 2014

Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 11, 2014, I served a true and correct copy of the
foregoing via the Court’s ECF system on the following counsel of record:


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